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CSD 1801 [12/01/16]
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                 UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF CALIFORNIA
          325 West F Street, San Diego, California 92101-6991



 In Re
 Pacifica Senior Living LLC dba Pacifica Senior Living Management LLC                                                     25-01107-7
                                                                                                   BANKRUPTCY NO.         25-01107-7


                                                                            Debtor.

                                              DECLARATION RE: ELECTRONIC FILING OF
                                               PETITION, SCHEDULES & STATEMENTS
PART I - DECLARATION OF PETITIONER
          I [We] Cort Schultz and                         , the debtor(s), hereby declare under penalty of perjury that the information I
have given my attorney and the information provided in the electronically filed petition, statements, and schedules is true and correct.
I consent to my attorney sending my petition, this declaration, statements and schedules to the United States Bankruptcy Court. I
understand that this Declaration Re: Electronic Filing is to be filed with the Clerk once all schedules have been filed electronically
but, in no event, no later than 14 days following the date the petition was electronically filed. I understand that failure to file the
signed original of this Declaration will cause my case to be dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice.
         ❑       [If petitioner is an individual whose debts are primarily consumer debts and has chosen to file under chapter 7] I am
aware that I may proceed under chapter 7, 11, 12 or 13 of 11 United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7. I request relief in accordance with the chapter specified in this petition.
          ■        [If petitioner is a corporation or partnership] I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor requests relief in
accordance with the chapter specified in this petition.

Dated: March 24, 2025
                            Signed:
                                         Cort Schultz
                                         *(Debtor)
                      *If filed electronically, pursuant to LBR 5005-4(C), the original debtor s     1urc(s) in a scanned format is required


PART II - DECLARATION OF ATTORNEY
          I declare under penalty of perjury that I have informed the petitioner, if an individual, that [he or she] may proceed under
chapter 7, 11, 12 or 13 of Title 11, United States Code, and have explained the relief available under each such chapter. I further
certify that I have delivered to the debtor the notice required by 11 U.S.C. §342(b). In a case in which § 707(b)(4)(D) applies, this
signature also constitutes a certification that I have no knowledge after an inquiry that the information in the schedules is incorrect.

Dated: March 24, 2025

                                                                                        artin     liopulos, Esq. 149299
                                                                                       Attorney for Debtor(s)




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